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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
 _____________________________________________________________________________

 UNITED STATES OF AMERICA,             *
                                       *
 Plaintiff,                            *            No. 17-cr-10082-STA
                                       *
 v.                                    *
                                       *
 ERIC DEWAUN MARTIN,                   *
                                       *
 Defendant.                            *
                                       *
                                       *

                   ORDER GRANTING JOINT MOTION
      TO CONTINUE SENTENCING HEARING AND NOTICE OF RESETTING



       IT APPEARING TO THIS COURT upon the filed motion of the parties, for good
       cause shown, that this motion is well taken and is therefore, GRANTED.

       A Sentencing Hearing hereby is reset for Friday, November 9, 2018 at
       9:30am.

       It is so ORDERED, this the 26th day of September, 2018.

                                 s/HONORABLE S. THOMAS ANDERSON
                                 CHIEF U.S. DISTRICT COURT JUDGE
